                Case 3:20-cv-00133-JCH Document 183-1 Filed 11/16/20 Page 1 of 4




From: Pat Noonan
Sent: Tuesday, November 10, 2020 9:49 AM
To: 'Jakub Madej (j.madej@lawsheet.com)' <j.madej@lawsheet.com>
Subject: Madej v. Yale

Hi Jakub,
        I see that you uploaded two items to the ShareFile. I was able to open the amended responses to the requests
for admission, but the damages calculation came in an unreadable format. When I try to open it, I get a blank page, with
a notice that I should request the sender to re‐send in a readable format. Can you try sending that one in a different
format? The responses to the request for admission came through in PDF, so you might be able to send the damages
calculation in PDF. Thanks for your cooperation.
        Pat

Please be advised that I will be intermittently working from home. My cell phone number is 203‐314‐4562.

Patrick M. Noonan
Donahue, Durham & Noonan, P.C.
741 Boston Post Road
Guilford, CT 06437
(203)457‐5209(direct)
(203)314‐4562(cell)
(203)458‐9168(office)




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From: Pat Noonan
Sent: Thursday, November 12, 2020 12:16 PM
To: 'Jakub Madej (j.madej@lawsheet.com)' <j.madej@lawsheet.com>
Subject: RE: Madej v. Yale

Hi Jakub,
        Please see the email below, which I sent two days ago. Please re‐send me your damage calculation in PDF
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                Case 3:20-cv-00133-JCH Document 183-1 Filed 11/16/20 Page 3 of 4




From: Pat Noonan
Sent: Friday, November 13, 2020 10:47 AM
To: 'Jakub Madej (j.madej@lawsheet.com)' <j.madej@lawsheet.com>; 'jakub.madej@yale.edu'
<jakub.madej@yale.edu>
Subject: RE: Madej v. Yale

Hi Jakub,
Please see my two emails below. Since you have not responded to my two earlier emails sent to your “lawsheet” email, I
am sending this one to both of your email addresses. I really don’t want to have to file another discovery motion; Judge
Hall has made it clear that she does not believe she should have to keep intervening on this type of matter. However, if
you don’t send me a readable copy of your damages analysis by 9 am on Monday, November 16, I will be required to do
that. Please don’t make me file another motion.
Pat

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